              Case 2:14-cr-00083-DJC Document 324 Filed 02/19/19 Page 1 of 4


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   United States of America
 7

 8                                  IN THE UNITED STATES DISTRICT COURT

 9                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            CASE NO. 2:14-CR-00083 GEB

12                                    Plaintiff,          STIPULATION AND PROPOSED
                                                          PROTECTIVE ORDER REGARDING
13                            v.                          IMPEACHMENT MATERIAL

14   RUSLAN KIRILYUK,

15                                    Defendant.

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18                                                 STIPULATION

19          The United States, through Assistant United States Attorneys Michael D. Anderson and Matthew

20 M. Yelovich, and the defendant, Ruslan Kirilyuk, through his counsel of record Olaf W. Hedberg,

21 hereby stipulate as follows:

22          1.       This matter is currently set for trial before this Court on February 19, 2019, on the second

23 superseding indictment.

24          2.       The United States is in possession of materials potentially subject to disclosure under

25 Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), United States v.

26 Henthorn, 931 F.2d 29 (9th Cir. 1991), Fed. R. Crim. P. 16, and/or related law. The defense wishes to

27 obtain such material without delay or pretrial litigation over the scope of disclosure.

28
      Stipulation and Protective Order Regarding          1
      Impeachment Material
              Case 2:14-cr-00083-DJC Document 324 Filed 02/19/19 Page 2 of 4


 1          3.       This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

 2 Criminal Procedure and its general supervisory authority. Although the parties have previously entered

 3 into a protective order covering discovery in this case, the parties seek this additional protective order

 4 with special provisions covering only a limited subset of discovery in this case, described as follows:

 5 documents Bates numbered MM-48912–13, as well as any information conveyed through the inspection

 6 of personnel files referenced in MM-48912–13, collectively “the Protected Information.”

 7          4.       The parties further agree as follows:

 8                   a. First, the Protected Information shall be used only with respect to the above-

 9                       captioned criminal trial, and counsel for the defendant shall not disclose or provide

10                       copies of the Protected Information to any individuals other than the defendant and

11                       any individuals retained by defense counsel in this case.

12                   b. Second, the Protected Information may not be referenced before the jury unless and

13                       until further order of the Court during trial at a sidebar permitting such reference or

14                       use of the Protected Information.

15                   c. Third, the Protected Information shall not be described or cited in public filings in

16                       this or any other case, but may be described or cited only in filings submitted under

17                       seal.

18                   d. Finally, modification of the protective order proposed by this stipulation can be

19                       sought by either party through application to the Court.

20          5.       Accordingly, the parties hereby agree that pursuant to Rule 16(d) of the Federal Rules of

21 Criminal Procedure and upon order of the Court, a proposed version of which is attached, (1) the United

22 States shall produce to counsel for the defendant the Protected Information, and (2) the defendant and

23 defense counsel will abide by the use restrictions articulated herein.

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      Stipulation and Protective Order Regarding             2
      Impeachment Material
             Case 2:14-cr-00083-DJC Document 324 Filed 02/19/19 Page 3 of 4


 1         IT IS SO STIPULATED.

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 3   Dated: February 15, 2019                      MCGREGOR W. SCOTT
                                                   United States Attorney
 4
                                                   /s/ Michael D. Anderson
 5                                                 MICHAEL D. ANDERSON
                                                   MATTHEW M. YELOVICH
 6                                                 Assistant United States Attorneys
 7
     Dated: February 15, 2019
 8                                                /s/ Olaf W. Hedberg________
 9                                                OLAF W. HEDBERG
                                                  For Defendant Ruslan Kirilyuk
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     Stipulation and Protective Order Regarding   3
     Impeachment Material
              Case 2:14-cr-00083-DJC Document 324 Filed 02/19/19 Page 4 of 4


 1                                                    ORDER

 2          This matter came before the Court on the parties’ stipulation for a protective order for certain

 3 Protected Information, defined as documents Bates numbered MM-48912–13 and any information

 4 conveyed through inspection of personnel files referenced in MM-48912–13. For the reasons stated in

 5 the Stipulation, and for good cause appearing, the Court HEREBY ORDERS THAT, pursuant to Rule

 6 16(d) of the Federal Rules of Criminal Procedure:

 7      1. The Protected Information shall be used only with respect to the United States v. Kirilyuk

 8           criminal trial, and counsel for the defendant shall not disclose or provide copies of the Protected

 9           Information to any individuals other than the defendant and any individuals retained by defense

10           counsel in this case.

11      2. Second, the Protected Information may not be referenced before the jury unless and until further

12           order of the Court during trial at a sidebar permitting such reference or use of the Protected

13           Information.

14      3. Third, the Protected Information shall not be described or cited in public filings in this or any

15           other case, but may be described or cited only in filings submitted under seal.

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17          IT IS SO ORDERED.

18   Dated: February 15, 2019

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      Stipulation and Protective Order Regarding          4
      Impeachment Material
